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   6
       Attorneys for Defendants
   7   AHMED AL-RUMAIHI and AYMAN SABI
   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10
       BIG3 LLC, et al.,                            No. 2:18-CV-3466 DMG (SKX)
  11
                           Plaintiffs,
  12                                                Assigned for all purposes to
          v.                                        Hon. Dolly M. Gee
  13   AHMED AL-RUMAIHI, et al.,
                                                    DECLARATION OF BRIAN D.
  14                       Defendants.              HERSHMAN IN SUPPORT
                                                    JOINT STIPULATION RE:
  15                                                TEMPORARY SEALING OF
                                                    DOCUMENTS AND PROPOSED
  16                                                BRIEFING SCHEDULE FOR
  17                                                DEFENDANTS’ APPLICATION
                                                    TO PERMANENTLY SEAL
  18                                                DOCUMENTS
  19                                                Hearing Date:
                                                    Hearing Time:
  20                                                Courtroom:       8C
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                             DECLARATION OF BRIAN D. HERSHMAN
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   1         I, Brian D. Hershman, declare as follows:
   2         1.     I am a partner at the law firm of Jones Day, counsel of record for
   3   Defendants Ahmed Al-Rumaihi and Ayman Sabi (“Defendants”). I make this
   4   declaration in support of the Joint Stipulation re: Temporary Sealing of Documents
   5   and Proposed Briefing Schedule for Defendants’ Application to Permanently Seal
   6   Documents (“Stipulation”). I would competently testify to the facts herein if called
   7   as a witness in this matter.
   8         2.     This declaration is submitted pursuant to paragraphs 9 and 10 of the
   9   Initial Standing Order (Dkt. No. 7), which requires parties to file a declaration in
  10   support of requests for continuances or extensions of time. I believe good cause
  11   exists for the following reasons.
  12         3.     On July 25, 2018, the Court entered an Order to Show Cause re:
  13   Dismissal for Lack of Prosecution (“OSC”) (Dkt. No. 42), ordering Plaintiffs to
  14   show cause in writing by August 8, 2018 why the action should not be dismissed as
  15   to Defendants Faisal Al-Hamadi, Sheikh Abdullah bin Mohammed bin Sau Al
  16   Thani, and Akbar Al Baker for failure to effect service.
  17         4.     On August 8, 2018, Plaintiffs filed a Response to Order to Show Cause
  18   re: Dismissal for Lack of Prosecution (“OSC Response”) (Dkt. No. 43), and a
  19   supporting Declaration of Mark Geragos (“Geragos Declaration”) (Dkt. Nos. 43-1,
  20   43-2, 43-3). Based on the content of the OSC which Defendants found objectionable
  21   and which Defendants believe violated a protective order in connection with a
  22   separate arbitration (which Plaintiffs dispute), Defendants sought to quickly file an
  23   ex parte application to remove these documents from the public docket.
  24         5.     Defendants’ counsel notified Plaintiffs of their intent to file an ex parte
  25   application, and advised Plaintiffs’ counsel of their objections. The parties met and
  26   conferred but could not reach an agreement.
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                               DECLARATION OF BRIAN D. HERSHMAN
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   1         6.     On August 10, 2018, Defendants filed an application for leave to file
   2   the following under seal: (1) Defendants’ Ex Parte Application to Strike Plaintiffs’
   3   OSC Response, and (2) the Protective Order (“Sealing Application”) (Dkt. No. 44).
   4         7.     On August 14, 2018, the Court entered an order indicating as follows:
   5         Defendants’ underlying proposed Ex Parte Application seeks an Order (1)
   6         striking Plaintiffs’ Response to the Order to Show Cause, (2) sealing alleged
   7         confidential information in Plaintiffs’ Response, and (3) awarding sanctions
   8         against Plaintiffs [Doc. # 45-1 at 3.] Whereas item (2) may warrant relief on
   9         an ex parte basis, items (1) and (3) do not. [Citations omitted.] The Court
  10         permits Defendants to file an application to seal Plaintiffs’ Response to the
  11         Order to Show Cause within three (3) days of the date of this Order.
  12         8.     The Court also ordered that Docket Entry Nos. 43, 43-1, 43-2, 43-3, 43-
  13   4, 43-5, 43-6, 43-7, 43-8, 43-9, 43-10, 43-11, 43-12, 43-13, and 43-14 remain
  14   temporarily under seal.
  15         9.     Consistent with the Court’s August 14 order, Defendants are prepared
  16   to file an ex parte application to seal the OSC Response and Geragos Declaration.
  17   However, although the parties continue to dispute whether and to what extent the
  18   OSC Response and Geragos Declaration should be permanently sealed, the parties
  19   reached an agreement on August 16, 2018 that contemplates temporarily sealing the
  20   alleged confidential information and/or documents used in the OSC Response and
  21   Geragos Declaration to permit the parties to fully brief the issue on a regularly
  22   noticed motion schedule so the Court can reach a determination if any or all
  23   information requested by Defendants to be sealed should be permanently sealed.
  24         10.    Under the Court’s Initial Standing Order, ex parte applications should
  25   be used for emergencies. (Dkt. No. 7 ¶ 9). If the OSC Response and Geragos
  26   Declaration remain temporarily under seal until the disputes are resolved, as
  27   contemplated by the stipulation, the exigency is dispelled, which affords the Parties
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   1   and the Court the opportunity to address these issues on a regularly noticed motion
   2   schedule.
   3         11.    For these reasons, good cause exists to extend the existing schedule and
   4   for the Court to decide the issues as a regularly noticed motion.
   5         Executed this 17th day of August, 2018, at Los Angeles, California.
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                                                Brian D. Hershman
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                              DECLARATION OF BRIAN D. HERSHMAN
